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      UNITED STATES COURT OF APPEALS FOR THE THIRD CIRCUIT


                                        No. 20-2481

   LIBERTARIAN PARTY OF PENNSYLVANIA; CONSTITUTION PARTY OF
   PENNSYLVANIA; GREEN PARTY OF PENNSYLVANIA; STEVE SCHEETZ;
          KEVIN GAUGHEN; ALAN SMITH; TIMOTHY RUNKLE;
                  BOB GOODRICH; JUSTIN MAGILL,
                                            Appellants

                                              v.

     GOVERNOR OF PENNSYLVANIA; SECRETARY COMMONWEALTH OF
       PENNSYLVANIA; SECRETARY ELECTIONS AND COMMISSIONS

                       PENNSYLVANIA DEMOCRATIC PARTY
                            (Intervenor in District Court)

                               (E.D. Pa. No. 5-20-cv-02299)

                           ______________________________

                                  JUDGMENT ORDER
                           ______________________________


Present: AMBRO, SHWARTZ, and BIBAS, Circuit Judges

       Having considered the record on appeal, arguments of the parties, and the

applicable law, we affirm for substantially the reasons set forth by the District Court in its

thorough and well-reasoned opinion.

       Among other things, the District Court correctly applied the balancing test set out

by the Supreme Court in Anderson v. Celebrezze, 460 U.S. 780 (1983), and Burdick v.

Takushi, 504 U.S. 428 (1992). The Court concluded that: (1) enforcing the signature

requirement, in combination with the Governor’s Orders issued to address the COVID-19
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pandemic, imposed only a moderate burden because the record shows that the Appellants

have had sufficient time and means to meet the signature requirements under

Pennsylvania law (which, we note, were reduced by more than 90% pursuant to an order

in a previous suit, see Order, Const. Party of Pa. v. Aichele, No. 5:12-cv-02726 (E.D. Pa.

Feb. 1, 2018), ECF No. 115), and (2) the August 3 deadline for collecting signatures did

not constitute a “severe burden” requiring strict scrutiny. In conducting “an independent

examination of the record as a whole” and deferring to the District Court’s factual

findings only insofar as they concern witness credibility, Tenafly Eruv Ass’n, Inc. v.

Borough of Tenafly, 309 F.3d 144, 156-57 (3d Cir. 2002) (citations omitted), we agree.

Further, we agree that the law survives intermediate scrutiny because it serves the

Commonwealth’s legitimate and sufficiently important interests in “avoiding ballot

clustering, ensuring viable candidates, and the orderly and efficient administration of

elections.” Libertarian Party of Pa. v. Wolf, Civ. A. No. 20-2299, 2020 U.S. Dist. Lexis

124200, at *41-42 (E.D. Pa. July 14, 2020). For these reasons and for many of those

expressed by the District Court, the Appellants have not demonstrated a reasonable

likelihood of success on the merits of their First and Fourteenth Amendment claims.

       Because we have resolved the merits of the appeal, we deny as moot the motion

for injunctive relief pending appeal.

       Accordingly, it is hereby ORDERED and ADJUDGED that the order of the

District Court entered July 14, 2020 is hereby affirmed and the motion for an injunction

pending appeal is denied as moot. Costs shall be taxed against the Appellants.

       The mandate shall issue forthwith.
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                                                        By the Court,

                                                        s/Thomas Ambro
                                                        Circuit Judge

                                                        s/Patty Shwartz
                                                        Circuit Judge

                                                        s/Stephanos Bibas
                                                        Circuit Judge



Attest:

s/ Patricia S. Dodszuweit
Clerk


Dated: July 28, 2020




                              Certified as a true copy and issued in lieu
                              of a formal mandate on     July 28, 2020


                             Teste:
                             Clerk, U.S. Court of Appeals for the Third Circuit
